831 F.2d 1058Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Maurice WALKER, Plaintiff-Appellant,v.STATE of North Carolina, County of Alamance, John H.Stockard, Sheriff, Defendants-Appellees.
    No. 87-7235.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 30, 1987.Decided Oct. 22, 1987.
    
      Maurice Walker, appellant pro se.
      Lacy H. Thornburg, Office of the Attorney General, for Appellee State of North Carolina, William McBlief, Womble, Carlyle, Sandridge &amp; Rice, Rickey L. Moorefield, Alamance County Attorney, for appellees County of Alamance and Stockard.
      Before MURNAGHAN, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Walker v. State of North Carolina, C/A No. 86-133-G (M.D.N.C., June 4, 1987).
    
    
      2
      AFFIRMED.
    
    